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                          UN ITED STA TES D ISTRICT COU RT
                          SOUTHERN DISTY CT OF FLORIDA
                                  M IA M IDIVISION
                            CA SE N O .1l-20815-CR-SElTZ

  UN ITED STA TES O F A M ERICA

                        Plaintiff,
  V S.


  K ERRY M ICH AEL D EEV Y ,

                       Defendant.


     OR DER A DO PTING M A G ISTR ATE'S R EPO R T A ND REC O M M END A TIO N

         TH IS CAU SE cam e before the Courtupon Defense Counsel'sCJA V oucherforA ttorney's
  Fees,

     TH E M A T TER w asreferred to U nited States M agistrate Judge Garberon April30,2015.A
  Reportand Recom mendation wasfiled on June9,2015 recomm endingpaym entin theam ountof

  $15,275.00asto vouchernumberFLS121689.No objectionsto theReporthavebeen filed.The
  Courthasconducted a denovo review oftheentire file.Accordingly,itis
     ORDERED AND ADJUDGED thattheReportand Recommendation ofUnited States
  M agistrateJudge Barry L.Garber, ishereby Adoptedand Approved.TheCourtAuthorizes
  paymentin theam ountof$15,275.00.

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     D O N E AN D O R D ER ED in Cham bers atM iam i,Florida,this       day of June,2015.
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                                                     PA TRI IA A .SEITZ
                                                     UN ITED STA TES DISTRICT JU D GE

  Copied:M agistrate Judge Garber
         W ahid K hurrum ,Esq.
          Lucy Lara,CJA Adm inistrator
